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                                In the Matter Of:
                                    JAMES LARKIN

                                           -v-

                            SGT BRADFORD, ET AL.




                                     James Larkin

                                    August 13, 2020




                         StewartRi




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                                                                                                                            Page3
   1                  UNITED STATES DISTRICT COURT                       1                    INDEX OF EXAMINATION
                      NORTHERN DISTRICT OF INDIANA                                                                          PAGE
   2                       LAFAYETTE DIVISION
   3
                                                                             EXAMIUATION
        JAMES LARKIN,                    )
   4                                     )
                      Plaintiff,         )                                   QUESTIONS BY MS. ABSHIRE                            5
   5                                     )                               4
                -v-                      )          Case No.
                                                                         5
   6                                     )    4 :18-CV-00065-JVB-JEM
                                                                         6
        SGT. BRADFORD, ec al.,           )
   7                                     )                               7
                      Defendants.        )                               8
   8                                                                     9
   9
                                                                        10
  10            The deposition upon oral examination of
  11   JAMES LARKIN, a witness produced by means of                     11
  12   video-conference, and sworn before ~e, Elizabeth A.              12
  13   Taylor, RPR, a Notary Public in and for the County of            13
  14   Vanderburgh, State of Indiana, taken on behalf of the
                                                                        14
  15   Defendants in Michigan City, Indiana, on August 13,
                                                                        15
  16   2020, at 10:41 a.m., pursuant to the Federal Rules of
  17   Civil Procedure.                                                 16

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  22
                      STEWART RICHARDSON & ASSOCIATES                   21
  23                Registered Professional Reporters                   22
                      915 Main Street, suite 405                        23
                          Evansville, IN 47708
                                                                        24
                              (812) 477-4449
  25                                                                    25

                                                                Page2                                                       Page4
   1                           APPEARANCES                               1                     INDEX OF EXHIBITS
   2   FOR THE PLAINTIFF:                                                2
                James Larkin, Pro se (via Zoom conference)                       NUM.              DESCRIPTION                  PAGE
                INDIANA STATE-PRISON
                                                                         3
   4            1   Park Row
                                                                             Rxhibit A     Grievance                            18
                Michigan City, IN     46360
                                                                         4
   5
                                                                         5
   6   FOR THE DEFENDANTS:
   7            Courtney L. Abshire, Esq. (Via Zoom conference)          6

                Mollie A. Slinger, Esq. (Via Zoom conference)            7

   8            OFFICE OF THE ATTORNEY GENERAL                           8
                302 West Washington Street                               9
   9            Indiana Government Center South, 5th Floor              10
                Indianapolis, IN 46204-6201                             11
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                                                                     PageS                                                                     Page7
   1                            JAMES LARKIN,                                  1    Q Okay.     If I ask a question and you don 1 t
    2   called as a witness by the Defendants, having been first               2        understand, just let me know, and I will try to
    3   duly sworn, was examined and testified as follows:                     3        rephrase it.        Otherwise, if you answer the
    4   EXAMINATION                                                            4        question, then I will assume that you've understood
   5    QUESTIONS BY MS. ABSHIRE                                               5        the question.        Is that fair?
    6   Q Mr. Larkin, my name is Courtney Abshire.           !lm a             6    A Yes,    ma 1 am,
    7       deputy attorney general with the Indiana Attomey                   7    Q Are you currently taking any sort of medication?
   8        General's Office.     I'm the attorney who represents              8    A I am.
   9        the defendants in this case.        Do you understand              9    Q Is it medication that would· affect your ability to
  10        what I am and who I represent?                                    10        give full and truthful testilnony today?
   11   A   I'm familiar with who you are.                                    11    A No, it's not.
  12    Q My coworker, MOllie Slinker, is also a deputy                       12    Q What about any drugs or alcohol?             Are you under the
  13        attorney general, and she's also assigned to this                 13        influence of any drugs or alcohol?
  14        case.   She's not going to ask you any questions.                 14    A No, I 1m not.
  15        She's only here to watch and listen.                              15    Q Okay.     Did you review any documents to prepare for
  16    A All right.                                                          16.       this deposition?
  17    Q So have you been deposed before?                                    17    A   I read the documents that I had requested recently.
  18    A Yes, ma'am.                                                         18    Q Anything else?
  19    Q Do you recall when?                                                 19    A I can 1 t get anything else.
  20    A It's been over a decade.                                            20    Q Okay.     Did you speak with anyone in preparation for
  21    Q Okay.     So I'm just going to go aver a few things to              21        the deposition today?
  22        keep in mind while we do this.        The test:im::my             22    A I'm in a controlled housing unit.             There's no one
  23        you're giving today is under oath and would have                  23        to speak to,
  24        the same force and effect as if we were in court                  24    Q Okay.     So now I'm going to ask you just a little
  25        before a judge or a jury.     Do you understand that              25        bit of background information.           How old are you?

                                                                     Page 6                                                                    Page B
   1        the testimony you're giving today is under oath?                   1    A I'm 32.       Saturday will be my 33rd birthday.
   2    A I do.                                                                2    Q And what's the highest level of education that
   3    Q Okay.     Do you understand what it means to be under                3        you've ccmpleted?
   4        oath?                                                              4    A   Eleventh.
   5    A I do.                                                                5    Q And how long have you been at Indiana State .Prison?
   6    Q Okay.     Because the testimony is under oath and                    6    A Oh, probably about 14 or 15 months.
   7        because it's being recorded by the court reporter,                 7    Q And did the underlying events of your lawsuit take
   8        it's ilnportant that you answer all the questions                  8        place at the Indiana State _Prison?
   9        verbally.   If you nod your head or you shake your                 9    A They did not.
  10        head or say uh-huh or uh-uh, it's hard for her to                 10    Q Where did they take place?
  11        transcribe that.      So it's inportant that you answer           11    A Westville control llllit, Westville Correctional
  12        all the questions with yes, no.         With wards.      Does     12        Facility.
  13        that make sense?                                                  13    Q What conviction are you in for today?
  14    A Understood.                                                         14    A Today I am -- robbery.
  15    Q Okay.     So it's also important that we don't talk                 15    Q Before this lawsuit that you brought against the
  16        over each other.     That's extra important with the              16        defendants, have ~ ever filed a lawsuit before?
  17        video because I'm sure you've noticed there's a                   17    A I have not.
  18        little bit of delay.                                              18    Q Okay.     That •s all the background questions I have.
  19    A Right.                                                              19        So we're going to mve on to the events underlying
  20    Q So if you can, please wait until I •ve ccmpletely                   20        your lawsuit.        can you just tell me in your own
  21        finished asking the question before you start to                  21        words what the lawsuit is about?
  22        answer, and I will also tcy to not start the next                 22    A It's about the defendants went in my cell, took my
  23        question until you have had the opportunity to                    23        property.        Whenever I addressed them about it, they
  24        fully ccnplete your answer.         Does that make sense?         24        ignored me, and then it escalated from there.           I
  25    A It does.                                                            25        got sprayed several times.           They came in the cell



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    1     and beat me while I was in restraints.                   1       that, right? So for them to spray me repeatedly
    2   Q And what was the date of the incident?                   2       and then come in and assault me was -- was
    3   A What was that? April lOth of 2019.                       3       pointless because all they did was take me to the
    4   Q Okay. So I'm going to start with asking you a            4       shower, take me to medical, and put me right back
    5     little bit about what happened prior to the cell         5     in my cell, the same exact cell with the same exact
    6     extraction. Had you received a conduct report for        6     stuff except for food and -- they sprayed it down
    7     anything that happened earlier in that day?              7     with water and took all my clothes and my mattress.
    8   A I had not. Not to that point.                            8     So afterwards, I didn't have any clothing or any
    9   Q What about an incident involving officer -- I think      9     mattress or any· water-- running water. No toilet.
  10      it's pronounced McGowan?                                10   Q Okay. I'm just trying to get a clear order of
   11   A That's what initiated it.                               11     events just for· the sake of the record.
  12    Q And what happened with that?                            12   A All right. Look--
   13   A He was delivering food, and I sma.cked it off --        13   Q Okay. So --
  14      smacked the cup off my tray slot, told him I didn 1 t   14   A -- at that point they came -- at that point they
  15      want anything until I got my property and my legal      15       came in and shook my cell down. They took all my
  16      paperwork back.                                         16       property for no reason. The did it to
  17    Q And-you did not receive a conduct report; is that       17       {indecipherable) .
  18      right?                                                  18            MS. ABSHIRE: Can we take a very brief --
  19    A I did receive a conduct report for that, yes.           19            MS. REPORTER: I'm sorry. You'll have to talk
   20   Q Okay. What was the charge?                              20       one at a time.
   21   A Assault on staff, class A102.                           21            MS. ABSHIRE: Can we take a break off the
   22   Q So what happened after you knocked the tray away        22       record?
   23       from Officer McGowan?                                 23             {A discussion was held off the record.)
  24    A   It was a tray and a cup. But they walked off, and     24   Q Okay. So they -- after they took your property, is
  25        then a lieutenant came and infonned me to cuff up     25     that -- following that, is that when lunch was
  ----------- ------"-                                   Pa,-g-e~1o+-----------"-----------~Pa~g~e~1~2
    1     and then started-- and that's when they started--        1     brought around?
    2     they started spraying me.                                2   A   Yeah.That's whenever -- the incident with
   3    Q Had they put you on strip cell status?                   3     McGowan, correct.
   4    A Yeah. That day they'd shooken down the entire            4   Q Okay. So following the incident with McGowan, the
    5     facility. I wasn't on -- after that incident, they       5     entire unit was shut down?
    6     put me on strip cell status, but they had taken my       6   A No. Prior to that, the entire unit was shut dawn.
    7     property prior to that for no reason.                    7   Q Okay. So after the incident with McGowan, then
   8    Q So when they ordered you to cuff up, was that after      8     they told you they were going to do a strip celli
   9      they put you on strip cell status?                       9     is that right?
  10    A I was not on strip cell status when they told me to     10   A   I mean, they had already strip celled me. But,
  11      cuff up. I was on -- I was basically just -- they       11       yeah, that's basically it. No, what they was going
  12      just took my -- there was no status. I had done         12       to do was -- they wasn 1 t -- they wasn't stripping
  13      nothing wrong. They shook down the entire               13       my cell. What they wanted to do was strip me. My
  14      building, and for some reason, whatever officers        14       cell was already stripped. After that -- after
  15      that gone into my cell decided that I didn't need       15       that incident, they wanted to strip me, not my
  16      what belonged to- me.                                   16       cell.    My cell was empty. They stripped me.
  17    Q So you were not placed on strip cell after the          17   Q- Got it. Got it. Okay. That makes sense. I'm
  18      incident with Officer McGowan?                          18     sorry that I had it backwards. So do you know what
  19    A After the incident, I was, but prior to that, I was     19     the purpose of them wanting to strip you down was?
                                                                       A Because I smacked that cup and the tray off the
  w         -·                                                    20
  21    Q Okay.  So I'm going to -- I'm asking you now about      21     slot. But like I said, it's my-- the whole thing
  22      when you were placed on strip cell after the            22     was about them taking my property for no reason. I
  23      incident.                                               23     had done like -- I had done nothing wrong. I
  24    A I was in the controlled housing unit at the time,       24       wasn't acting up at this point. They took my
  25      and they had already taken my property prior to         25       television. They took my legal -- my criminal case



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   1      files.    They took just everything.      And then when I        1      circumstance.    So ...
   2      went back in there, there was state sheets,                      2   Q Okay.    So I'm going to move on to like just before
   3      blankets, a mat.       And that 1 s when I tried to              3      the cell extraction.       After you refused to cuff up
   4      address it civilly, you know, as, you know, I                    4      to be searched, did they tell you they were going
   5     could, and they just kept ignoring me. So I didn't                5      to do a cell extraction?
   6     -- I didn 1 t know what to do.                                    6   A They wasn't telling me to cuff up to be searched.
   7          I suffer from manic bipolar depression. I had                7      The_y was telling me to cuff up because they planned
   8     a manic episode, and it escalated from there.                     8      on _taking my mattress and my clothing.       It
   9   Q So when they -- when they wanted to strip you and                 9      wasn't -- it wasn't a search -- at that point it
  10     search you, did they order you to cuff up?                       10      wasn 1 t -- whenever they was telling me to cuff up,
  11   A They did.                                                        11      it wasn't a search.       The search bad already been
  12   Q Did you refuse to cuff up?                                       12      done.
  13   A I did.                                                           13   Q After they cuffed -- after they ordered you to cuff
  14   Q- Do you recall the officer who ordered you to cuff               14     up after the incident with Officer McGowan, did
  15      ~                                                               ~       they tell you they were going to do a cell
  16   A Oh, what 1 s his name?      Lieutenant Eakins.                   16      ext-raction?
  17   Q Why did you refuse to cuff up?                                   17   A That's-- that was their intention, yes, I believe.
  18   A Why did I need to cuff up?        I was in a restricted          18      That 1 s hard to say.     There was so much going on.
  19      status housing in a cell.       Like I said, they --            19      Everybody screaming.      You Jmow, they-- it's
  20      after they assaulted- me, all they did was take me              20      understood typically-- you know, I don't know what
  21      to shower and medical and put me right back in the              21      all was said at the time.       That 1 s been over two
  22      cell. So where was -- what was they cuffing me up               22      years ago, but I Jmew that -- I Jmew that there was
  23      for? There was nothing else they could do for me                23      a cell extraction coming.
  24      -- nothing else they could do to me. Why was I --               24   Q Okay. When they -- just before the cell
  25      why was I -- what was they -- what was they cuffing             25     extraction, did they tell you that they were going
  ~------------------·
                                                                Page 14                                                         ---   PaQe"16
   1      me up for besides to rob me of my clothing.                      1      to administer o.c. spray?
   2   Q When they say take you to the shower, at what point               2   A They did several times, and they did administer it
   3     did they take you to the shower?                                  3      several times.
   4   A After the extraction.                                             4   Q How-many times did they administer O.C. spray?
   5   Q Okay,     So -- okay.                                             5   A Three.
   6   A That's what I'm saying.        They re telling me to cuff
                                             1
                                                                           6   Q Okay. So let's talk about the first O.C. spray.
   7      up.     I'm in a restricted status housing unit.                 7      Had they ordered you to cuff up again inmediately
   8      That 1 s a seg unit, right.     There 1 s nothing else --        8     before the first O.C. spray?
   9      there's no place to put me.       There 1 s nothing else         9   A ProDably so, yes. I would imagine so.
  10      they can do.    At that point, the proper procedure             10   Q But you don't recall specifically?
  11      would have been a conduct report, not a beating,                11   A It's hard to say. Like I say, I imagine they did,
  12      not a gang style jumping.                                       12     yeah, but, you know, my recollection -- like I say,
  13   Q So I just want to make sure that I'm clear about                 13     I was in the -- at this point, I was in a
  14     what I'm asking.        Why did you refuse to cuff up so         14     full-fledged manic episo::le, and like I said,
  15      that they could search you, your person?                        15     instead of calling mental health and taking the
  16   A I was just searched 20 minutes prior to this.           We       16     proper procedure, they -- you Jmow they -- you know
  17      was -- the whole -- the whole entire building was               17     what they did.
  18      just shook down.       The entire -- every single person        18   Q So you refuse -- did you refuse to submit to
  19      in it.    Every single offender was just shook down.            19     mechanical restraints before the first O.C. spray?
  20   Q Okay,                                                            20   A Yeah.    And refusing an order, like I said, is a
  21   A Like I said, what -- what -- where were they going               21      conduct report, not an assault.
  22      to put me.     What was they cuffing me up for?                 22   Q Do you know which officer administered the first
  23      There's nothing -- like, I'm in -- I'm in a seg                 23      o.c. spray?
  24      unit.    I 1m not doing anything.      They just put me in      24   A I believe it was Eakins every single time.
  25      a different cell under the same -- same                         25   Q Do you know that for sure?




                                                                                                                              Pages 13.. 16

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   1   A My cell was -- my cell door was covered.                           1      administered the O.C. spray.
   2   Q Okay.       I am going to attempt to use an exhibit.               2   Q Did -- were you warned that you would be sprayed
   3       Give me a second because I'm not great with                      3     again with 0. C. spray if you didn 1 t sutmit to being
   4       technology. Okay. Can everyone see my screen?                    4      cuffed up?
   5   A   Yes, ma'am.                                                      5   A I believe so.
   6   Q Okay.       I have no idea if you can actually read the            6   Q Did you ever say anything to the officers in
   7       text on the screen.       can you read your writing?             7      response to being told that you were going to be
   8   A I've got it in front of me.            I've got the same           8     sprayed?
   9       document right here.                                             9   A Like I said, I'm sure I did.      What exactly was said
  10   Q   Okay.     So is this -- so this i-s an accurate copy of         10      is lllllcnown.   Like I say, I was -- I was in emerg --
  11       the grievance you filed?                                        11      or a manic -- I was in a manic episode.       So ...
  12   A   Yes, ma'am.                                                     12   Q Okay. So I'm lOClVing on to the third O.C. spray.
  13   Q And it says on here --                                            13     Do you recall again if scmteone ordered you to cuff
  14   A Every document that I've made and every statement                 14      up before the third O.C. spray?
  15       that I've made has- been true and correct to the                15   A Same.   It was the same chain of events.       "nl.ey went
  16       best -- to the best of my Jmowledge. Like I said,               16      through the same order.
  17       there might be a name wrong or sanething like that              17   Q And, again, were you -- were you warned that you
  18       because you've got to l.lllderstand these individuals           18      would be sprayed if you didn't cuff up?
  19       was in full -- in full riot gear.         They had masks        19   A I can't say for sure, but I believe so.   But like I
  20       on.     They had helmets on.     "nl.ey had gloves.   So        20      say, I'm in an empty cell by myself in a
  21       liDless I Jmew them personally -- you Jmow, tlrrough            21      restrictive status housing unit. Every time
  22       my own investigation is how I learned most of the               22      anybody comes out of their cell, they're in full
  23       infonnation and through them telling on each other.             23      restraints. I wasn't a threat to nobody. At no
  24   Q So on here it says that you were repeatedly pepper                24      point was I a threat to anybody. So why am I being
  25     sprayed by who I 1m told was Lieutenant Eakins. Do                25      sprayed? You know what I'm saying? I'm in an
  r-----------------------------------------,P~a=g~e7
                                                    1Bo+-----------------------------------------,P~a=g~e"'zo
   1       you know who told you that?                                      1      empty cell in a seg unit and they're standing at my
   2   A I do.                                                              2      door spraying me, I'm in there by myself.       I'm a
   3   Q Can you tell me who it was?                                        3      threat to nobo::iy.
   4   A   It was Aaron Isby-Israel.                                        4   Q Okay.     So I'm going to move an.
   5               MS. REPORTER:    I'm sorry. What was the name?           5   A Go on.
   6               THE WI'INESS:   Aaron Isby-Israel.                       6   Q No.     If you have something else to say.
   7               MS. ABSHIRE:    Okay.    I think I am done with          7   A I was just thinking.       It ain't nothing.   Like I
   8       this.                                                            8      say, I was just trying to make you guys understand
   9               MS. REPORTER:    Did you want to mark that as an         9      the circumstances.     You Jmow what I'm saying? And
  10       exhibit?                                                        10      if it makes sense to you. Like I say, I was in a
  11            MS. ABSHIRE:       Yes.    Can you mark it as Exhibit      11      seg unit, right? So there's not any place they can
  12       A, please?                                                      12      put me for disciplinary purposes. At that point,
  13               MS. REPORTER:   Yes.                                    13      there's ~- there would have been -- can you tell
  14               (Defendant's Exhibit A was marked for                   14     why -- what they was cuffing me up for?
  15       identification.)                                                15   Q I can't answer arry questions.       I'm not -- you know,
  16               MS. ABSHIRE:    Thank you.    I think that will be      16     rey -- it's not my testiloony being taken today.        And
  17       the only one I use.                                             17     I will also tell you that I will give you an
  18   Q Okay.       So after they administered the first O.C.             18     opportunity at the very end of this to clarify any
  19       spray, then did you submit to mechanical                        19      answers that you have given earlier.       I just want
  20     restraints?                                                       20      to make sure that you know that.
  21   A I never submitted to mechanical restraints.                       21   A All right.
  22   Q Did they order you to after the first 0. C. spray?                22   Q So I'm going to start asking you about the cell
  23   A   Yeah.                                                           23     extraction itself.      I know you said that they were
  24   Q Do you recall who?                                                24     dressed in full gear, but do you recall which
  25   A I believe it was the same individual that                         25      officers were on the cell extraction team?



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   1   A I do know for a fact the first one because he was        1   A As soon as they entered the cell, I threw Bradford
   2     the sergeant, the shift -- shift sergeant and that       2      behind me.   I never -- they -- they -- I never
   3     was Bradford. He was the number one -- the first         3     threw one punch during the whole time. I never
   4     individual in the cell. And I did lmow Ryan, but         4     kicked one -- I never threw one -- I threw around
   5     he basically just hid over in the comer.                 5     the cell. I kept him off of me the whole time, and
   6   Q So did Officer Ryan restrain you in any way during       6     like I say -- go ahead.
   7     the --                                                   7   Q So you said you threw Bradford behind something?
   8   A No. I believe at -- I believe at one point he did        8   A Like I say, he carne in with a shield, and I grabbed
   9     end up jumping on me, but like whenever they             9     him and threw him behind me.
  10     started to assault me, he stepped back because like     10   Q Did you touch any of the other officers when they
  11     I said, they took turns. So -- and I could tell by      11     came in?
  12     his demeanor that he didn't want no part in it          12   A No. They -- you got to understand, they came in to
  13     because, like, at one point -- like I said, at one      13     touch me. I was trying to shove them away from me.
  14     point I was begging them. I thought they was going      14   Q Did you throw any punches at the officers?
  15     to kill me. I was begging them. And I looked up         15   A I didn't. The officers was the only individuals in
  16     and I could see in his face too. He felt the same       16     the cell that threw punches. I didn't throw one
  17     exact way that I did. He may not admit it, but at       17     punch or one kick. Like I say, I was throwing them
  18     the time, you could see it in his face.                 18     around. I wasn't -- I know -- I Jmow better than
  19   Q Okay. Do you recall --                                  19     to punch -- than to punch an officer. I'm sure
  20   A Like I said, he was concerned -- he was as              20     you 1 re familiar with my criminal record.
  21     concerned as I was aOOut my health, my welfare.         21     a staff assault that I got two years for.
  22     But yet, he did nothing to intervene.                   22     don't have any intentions of catching any more.
  23   Q Do you recall who else was on the team?                 23   Q But you did shove at least Officer Bradford; right?
  24   A I mean, I -- I've got the list in front of me if        24   A I did shave Officer Bradford.
  25     you want me to recite it to you.                        25   Q Did you shove any of the other officers?
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                                            : :22
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                                                                      Page 24
   1   Q That's okay.  I wasn't sure if you recalled them         1   A I didn't get a chance.  I was standing up against
   2     specifically.                                            2     the wall.
   3   A Like I say, you got -- I want you to understand.         3   Q You were standing up against the wall or was
   4     Like I say, that day, the entire building was shook      4     someone holding you against -the wall?
   5     down. So the entire search team was there. A lot         5   A Initially, I was forced -- there was like -- I was
   6     of the individuals was not from here to me because       6      -- well, as I was being struck -- I 1 m being struck
   7      I'm a high level offender, and that's a low level       7     in the side and back of the head, and I believe
   8     camp except for that -- except for Westville             8     there was Sergeant Talbot and somebody else at the
   9     control unit is one of the -- one of the state's         9     time -- actually, it might have been Ryan at that
  10     secured housing units. So it 1 s a super max            10     point. I can 1 t -- I can't really recall but there
  11     facility. A lot of -- a lot of the officers that        11     were several officers that had cornered -- put me
  12     was there that day, they didn't work at WCO except      12     in a corner.
  13     for at times like that.                                 13   Q Okay. And did you say -- which officers? Do you
  14            So -- but after the incident, a lot of them      14     recall which officers put you in the corner?
  15     started getting -- getting placed back there. Then      15   A I can't. I don't recall. Probably the second and
  16     that's when I got the -- that's where I got a lot       16     third officer.
  17     of my information about each individual and who         17   Q Okay. Did you collect any of the O.C. spray like
  18     they was and stuff like that.                           18     in a container?
  19   Q Okay. I see. Did the cell extraction team have a        19   A I did.
  20     shield when they entered your cell?                     20   Q Did you throw it at the --
  21   A 'I'hey did.                                             21   A Everything that -- everything that was -- that came
  22   Q Do you recall which officer was holding the shield?     22     in my cell that was thrown out of the cell came
  23   A Bradford.                                               23     from them. Every single thing I was assaulted with
  24   Q So can you describe what happened im:nediately after    24     first.
  25      they entered your cell?                                25   Q Okay. I'm going to ask ti.rf question again because



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   1      I'm not sure it went through.                            1     remember -- I remember like it was ten seconds ago
   2   A While they was spray:ing me, I caught the 0. C. spray     2     feeling my head open up.
   3     in a bag, and when they opened my door, I threw it        3   Q How long -did it take for the officers to get
   4     back at them.                                             4     mechanical restraints on you after they entered
   5   Q Did they block -- did it hit any of the officers?         5     your cell?
   6   A Not a single one of them. Yon got to understand,          6   A Probably about two or three minutes, and like I
   7     Bradford is like 6' 5 and had _a shield. It hit the       7     say, most of that was --no. That's how long it
   8     top of the sheet and went on __the rec pad. 1bat's        8     took me -- that's hJw long the whole thing took. I
   9     how I knew-- at the time I didn't even recollect          9     can't say how long it took. At least probably --
  10     the O.C. spray, but after -- like I say, other           10     the whole entire thing was probably two or three
  11     accounts and the window across from my cell, like I      11     minutes fran the time they came in the cell illltil
  12     say, they -- after -- after the incident -- like I       12     the time we left the cell.
  13     say, they put me right back in the cell only naked       13   Q Okay. Do you recall who put the mechanical
  14     with no mat and the cell sprayed down with a water       14     restraints on you?
  15     hose. So-- and I 1m-- you know, after I calmed           15   A No. Like I said, I was -- I was face down with
  16     down and everything, you know~ I came back to my         16     grown men all over me, and I was still in that
  17     senses and everything, I seen -- you Jmow, I could       17     comer.
  18     see the O.C. on the -- on the wincbw -- the rec pad      18   Q Were you restrained at your wrists?
  19     window across from my cell.                              19   A Yes.
  20   Q Okay. Did Officer Bradford hit you with the safety       20   Q Ankles too?
  21     shield?                                                  21   A Yes, rna 'am.
  22   A He never touched me with the safety shield but           22   Q Okay. I •m going to ask you about specific
  23     because -- they're under the impression because he       23     defendants at this point.
  24     struck me -- he punched me so many times, they feel      24   A Okay.
  25     like he had to have been the one that done that but      25   Q What are your allegations against Bradford?
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   1      he was not the one that split my eyebrow,                1   A That he -- once I was down and restrained, he got
   2   Q When did --                                               2     over the top of me and with his left hand with a
   3   A He never touched me --                                    3     glove on it struck me, beat me. Like I say, he
   4   Q Sorry.                                                    4     pilllched me in the left side of my face and head,
   5   A He never touched me with the shield. Like I say,          5     like I say, probably -- I would guess I would say
   6     as soon as -- that shield was gone as soon as he          6     up to 30 times to the :pJint I was begging him to
   7     entered the cell.                                         7     stop because I was in fear for my life.
   8   Q When did you throw the O.C. spray?                        8   Q So one of the defendants is Officer Bach. I think
   9   A As soon as the door opened.                               9     I'm sayinq that right. What are your allegations
  10   Q So what did split your eyebrow open?                     10     against Officer Bach?
  11   A An individual grabbed me by the hair and the top of      11   A Officer Bach was the first individual to strike me.
  12     the head and slarrmed it -- repeatedly slanmed my        12     As soon as re -- like, the other ones, they came in
  13     face into the ground like probably five or six           13     the cell, and, like I say, they slammed me up
  14     times.                                                   14     against the wall. He was throwing punches over the
  15   Q And do you recall which officer?                         15     ones that had me up against the wall. He was
  16   A It was -- was it Talbot? Sergeant Talbot I believe       16     throwing punches over. That's how he broke his
  17     his name is.                                             17     finger. I never touched him. He broke his fi~er
  18   Q I think Talbot.                                          18     pilllching me in the head. And like I say, if I
  19   A Yeah, Talbot, Yeah, that was -- yeah, Talbot. But        19     would have broke his finger, I would have had -- I
  20     like I said, they 1 re under the impression -- all       20     would have had outside charges.
  21     the officers wasn 1 t aware of what was going on.        21   Q I'm going to back up just --
  22     They felt like because -- I'd say Bradford struck        22   A You don't --you don't get away with breaking an
  23     me between probably 15 and 30 times. So they felt        23     officer's bones in the DOC without getting charges
  24     like he had to have been the one that split -- to        24     pressed against you.
  25     split my eyebrow but that wasn't the case. I             25   Q So just to back up a little bit. You said two



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   1       people were holding you in the corner.         I may have      1      times.
   2       already asked you this.     I'm sorry if I did.     Do         2   Q So you're alleging an excessive force claim against
   3       you recall which two officers were holding you in              3      Officer Bach?
   4     the corner?                                                      4   A Yeah.     Excessive force, cruel and unusual
   5   A I believe that the one was Talbot or Talbot or                   5     punishment.   The same thing against all of them
   6     whatever his name is. And I don't -- I don't                     6      except for a couple of them.  Neglect. Like Ryan.
   7       recall who the other one is.      He was a yoilll.g kid,       7     He neglected -- I seen it in his face. He felt the
   8       though, I 'believe..    Maybe -- I can't recalL                8     same way I did. He knew it was wrong. Ryan knew
   9   Q That 1 s okay.     So _your allegations against Bach, are        9     it was wrong, but yet, he failed to intervene.
  10       you alleging he used excessive force?                         10   Q At any point did you shove or attack Officer
  11   A Like the force that he used was not unnecessary and             11     Krause?
  12       excessive.                                                    12   A No, I did not. Actually, he may -- be may have
  13   Q So you're not bringing a failure to intervene                   13     been one of the ones that initially slanmed me up
  14       charge against hi:m?                                          14     against the wall. He may have got shoved, but it
  15   A Intervening charge?        I don't understand.                  15     wasn't -- like I say, it wasn't assault. It was
  16   Q   Sorry.     Are you alleging he failed to intervene to         16     more like trying -- I was trying to -- at this
  17       prevent the violence?                                         17     point I 1m trying to fend them off me. After I
  18   A He was violent.       Like I say, he was the first              18     threw the dude behind me -- like I say, I 1m
  19       individual to punch me.     He punched me five or six         19     standing up against the wall so I'm trying to keep
  20       times in the side and back of the -head off the jump          20     -- I 1m immediately being assaulted. You've got to
  21       before anything -- like, as soon as -- as soon as             21     understand. I'm being assaulted imnediately. So
  22       the door opened, he stepped in my cell throwing               22     I 1m trying to deflect the assaults. You know what
  23       punches.     He was the very first one.                       23     I 1m saying? I'm trying to get away from the
  24   Q Did you --                                                      24     assaults.
  25   A He was the very first one to assault me, and it was             25   Q Okay. You testified --
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   1       excessive and unnecessary.                                     1   A You keep mentioning me shoving like -- like I was
   2   Q Did you shove Officer Bach at any point?                         2      assaulting them. Like, that was my -- no. That
   3   A I never touched Officer Bach at any point.          Not one      3      was self defense. That was me trying to -defend
   4       time did I touch him.                                          4      them myself is me shoving them off of me. The way
   5   Q Okay.      I'm going to roove onto defendant Krause.             5     you 1 re mentioning me shoving them is like I was
   6       What are your allegations against defendant Krause?            6     assaulting them. That was not the case. I was
   7   A Oh, wait.       I think I got Krause and Bach mixed up.          7      trying to protect myself and trying to get them --
   8       I may have.     Just a second.   Bach -- yeah, once --         8      trying to get some distance between myself and the
   9       okay,    Once I was down on the ground, he just got            9      individuals that was beating on me.
  10       to dropping knees, dropping his 1:xxly weight,                10   Q Okay.     So I'm going to ask you a little bit nore
  11     dropping knees into my ribs and back.                           11      about Officer Ryan.   Are you alleging that he used
  12   Q Are you talking about Bach or Officer Krause?                   12      excessive force?
  13   A I'm talking about Officer Bach.                                 13   A No, he did not use any force.  He just neglected to
  14   Q Okay.                                                           14     do anything.
  15   A Krause was -- let me -- Krause was the first one to             15   Q So did he -- did he hold you down at any point
  16       assault me.     As soon as he stepped in the cell,            16     while they were trying to restrain you?
  17       -Krause assaulted me.    Officer Bach, once I was             17   A Yeah, he got on me. He jumped -- like when I first
  18       down, got -- got dropping knees and stuff like that           18     hit the ground, he jumped on me, but after -- like
  19       in my ribs and back.     Got dropping his body weight         19     I said, after they got doing what they was doing,
  20     into me.                                                        20     he Jmew be didn't want no part of it, and he got --
  21   Q Okay. So I'm going to ask you again then what are               21     like I say, he backed up into the 'IV -- the TV
  22       your allegations against Officer Bach?                        22     corner of my cell and was --that's where he like
  23   A Against Officer Bach? When I was on the -- on the               23     -- he Jmew he didn't -- he Jmew better than to be
  24       ground in restraints, he dropped lmees.        He would       24     part of it. Like I say, I remember at one point
  25       drop body weight into my ribs and my back several             25     looking up at him, and I know we had the same look



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    1      on our face and the same thought.    He felt the           1      actually perform the surgical procedure.
    2      exact same way I did.                                      2   Q Did you go back to ~ cell after the doctor
    3   Q Okay.   So what about Officer Talbot? Are you               3      performed the surgical procedure?
    4      alleging excessive force against him?                      4   A Went directly back to my cell, the same exact cell
    5   A Excessive force, yes.     He grabbed me by my hair and      5      that they just had to get me out of just to put me
    6      repeated!y slamned my face and head into the floor,        6      right back in it.
    7      split_ my eyebrow, and caused many bruises.                7   Q I think you mentioned losing a tooth in one of your
    8   Q Okay,_ What about Lieutenant Eakins? Was he                 8      interrogatory responses.    Did that occur during the
    9      present for any part of the cell extraction?               9      cell extraction?
   10   A He was right -- like, he was outside.      Like I said,    10   A No.   That was -- that was a result of Bradford's
   11      you've got to llllderstand.   From where my cell is --    11      assault.   Like I say, I got -- I got, like,
   12      I mentioned -- when I mentioned the rec pad window,       12      basically a chronological order where you can see
   13      like from the hallway, you can see in my cell.            13      in my medical records where they mentioned where I
   14      Him -- there were several -- there were several           14      had x-rays and they mentioned soft tissue damage.
   15      higher ranking officers out there just watching           15      What ended up happening, he damaged -- he
   16      this the entire time. They was present the entire         16      damaged -- he done root damage, and it ended up
   17      time. Any of them could have intervened at any            17      getting infected, and they had to pull the tooth
   18      given_ time.                                              18      because of that,
   19   Q So you're saying he was watching through the rec           19           MS. REPORTER:    Could we take a quick break,
   20      pad window?                                               20      please?
   21   A He was watching through the rec pad window.      He nay    21           MS. ABSHIRE:  Absolutely.
   22      have even been on the range, but like I said, he          22           (A brief recess was taken.)
   23      seen the entire thing.    He seen the entire assault.     23   Q So, Mr. Larkin, can you describe -- you talked
   24      I remember passing him on the way to the shower.          24      about your tooth already.    Can you describe the
   25   Q Okay.    Did you receive any conduct reports               25      other injuries that you received?
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    1      following the cell extraction?                             1   A The swelling and the abrasions, the pulling of my
    2   A I did.                                                      2      hair, the sore and bruised ribs and back.      Nerve
    3   Q Can you tell me what they were?                             3      damage to my hands.   Like I said, my -- because
    4   A I got one conduct report for officers -- Officer            4      I've got these -- I've got cuffs on right now
    5      Krause's finger he alleged that I broke. That was          5      because of where I'm at.    And my hand is tingling
    6      the conduct I got, But he had to file -- he had to         6      right now, and it all stems from that incident.
    7      file -a conduct in order to get his workman 1 s camp       7   Q Are you still receiving medical treatment for any
    8      or whatever.   So that was the reasoning behind            8      of the injuries that you sustained?
    9      that.                                                      9   A They won't -- they won 1 t treat -- they won't treat
   10   Q So what happened immediately after the officers            10     -- treat it. Like I say, I got -- you probably
   11      reuoved you from the cell?                                11      have it too. I've sought medical attention and it
   12   A They took me to the shower.                                12      ain't been -- the thing is, with the drug problem
   13   Q Did they read you the o.c. administrative warning?         13      in the roc, they just can't give us the drugs that
   14   A They did.                                                  14      I need to deal with the issue.     You know what I'm
   15   Q Do you recall which officer read you the warning?          15      saying?
   16   A Bradford.                                                  16   Q Okay. I'm going to move on a little bit to
   17   Q Where did you go after the decontamination shower?         17     damages. Are you seeking monetary compensation in
   18   A I went to -- I went to the nurse's station,                18      this lawsuit?
   19   Q What treatment did you receive at the nurse's              19   A What do you mean?  Like as far as property wise?
   20     station?                                                   20   Q Are you asking for money damages?
   21   A At that point I was -- she cleaned my -- cleaned           21   A I am.
   22      the wolllld and the blcxxi off me and just tried to       22   Q How much?
   23      control the bleeding until Dr. Jackson got there.         23   A It's -- what is it?   There's seven individuals.
   24      And that was Nurse Hutchinson that was taking care        24      The judge knocked down most of it, but it 1 s
   25      of me at that point lllltil Dr. Jackson got there to      25      basically 50 and 20 for each individual. 70,000



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          per defendant.                                           1     participant in the investigation. You know, he --
    2   Q How did you calculate that &OOUilt for each              2     you know, he was there -- he was basically like a
    3     defendant?                                               3     third party to the whole thing. You know what I'm
    4   A Well, basically just going through litigation            4     saying. Like, he knew that -- he knew how
    5     material and stuff like that. I didn 1 t want it to      5     everything played out. He knew what investigations
    6     be excessive, and I didn 1 t want to be -- I don't       6     went on. He knew what medical treatment I got. He
    7     know.                                                    7     knew how I was treated. You know what I'm saying?
   .8   Q So was it like jw:y verdicts for similar cases?          8     He's a witness to my treabnent, I sboold say. He
    9   A Yeah, that's what I'm saying. I was going through        9     may not have very well witnessed -- you don't have
   10     old litigation stuff, yeah.                             10     to be very intelligent to know that I was assaulted
   11   Q Do you recall like what jurisdiction or court?          11     while I was in that cell and that the medical
   I2   A 7th circuit. I tried -- I tried to study                12     documents and all -- the photo documents and -- the
   13     everything out of the 7th circuit, if possible.         13     fact that th::!y made the video go away. You think
   14   Q Did you have any lost wages as a result of the          14     that's coincidental?
   15     incident?                                               15          MS. ABSHIRE: Okay. I am going to take about
   lU   A No, ma'am.   I was in restricted status housing         16     ten minutes. Go off the record, And I'm going to
   17     unit.                                                   17     talk to Mollie here for a minute. It's 11:35 your
   18   Q What witnesses do you intend to call?                   18     time so we'll reconvene at, oh, 11:45.
   19   A It's hard to say. The doctors. I 1 d like to call       19           (A brief recess was taken.)
   20     the officers, my neighbors.                             20   Q I really -- I don't have very many more questions.
   21   Q Who are your cell neighbors?                            21     So this won't take much longer. You mentioned-
   22   A Darren Bailey and Aaron !shy-Israel                     22     Aaron Isby is one of your witnesses. Can you just
   23   Q What was the first one again? I'm sorry?                23     describe a little bit about what you would expect
   24   A Darren Bailey.   I don't believe I previously           24     him to testify about?
   25      mentioned him but -- even though -- like, I didn't     25   A About what he witnessed, you know, the -- the
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    1     mention Darren in any of my documents but -- but         1     sounds he heard, the condition I was in when I came
    2     the thing is they was in cells -- they was in            2     out of my cell and -- you seen the photo
    3     neighboring cells. They could witness it. You            3     documentation; right? That was directly after the
    4     know what I'm saying? But like I say, the officers       4     assault. '!'hat next rrorning when I -- like when I
    5     witnessed it. The nurses. Nurse Hutchinson was in        5     tried to close my eyes, my eyelids were so swelled
    6     the hallway witnessing it all and you could see in       6     shut, that my eyelids would roll inside themselves.
    7     her -- in one of her e-mails, she even mentions          7     I was not recognizable. My ear was swelled up, I
    S     that it was a beat -- that I got beat up in her          8     had lUillJS everywhere. Like I say, they pulled out
   -9     e-mail between her and the doctor when she was           9     half my hair. I said -- that next day I was not
   10     trying to get my x-ray for my face after rronths --     10     reccgnizable. He can testify to that. And I
   11     a couple months later or whatever it was.               11     believe that John Sawyer, I don 1 t know if he would,
   12   Q You said she was waiting in the hallway during the      12     but he seen my condition. Nurse West, you know.
   13     cell extraction?                                        13   Q Sorry. What was the second nurse 1 s name?
   14   A She was out there.                                      14   A Janice West.
   15   Q Could you see her?                                      15   Q And you said John Sawyer saw you after the
   16   A When I came out of my cell. Like I say, I wasn't        16     incident. Was it like the next day, two days
   17     looking for her whenever I was in there. I was          17     later?
   18     trying to protect myself.                               18   A He done rounds the next day.
   19   Q You mentioned a John Sawyer, I think?                   19   Q Okay. I basically have the same question about
   2G   A John Sawyer. That was the counselor -- my               20     Darren Bailey. What do you expect him to testify
   21     counselor back there.                                   21     to?
   22   Q He was your counselor at WCIT?                          22   A My condition, you Jmow. The condition that I was
   23   A Yes, ma'am.                                             23     in whenever I came out of the cell at that moment
   24   Q Did he witness the cell extraction?                     24     and my condition, you know, the days prior to that
   25   A I can't say, but I do know that he was, you know, a     25     and then the -- both of them, the treatment too.



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    1      Like I say, you can see -- if you go through                   1   A A brief time. Months. Probably a quarter of the
    2      Ms. Boren, mental health, they had put me in                   2     year. Three or four months. Just long enough to
    3      receiving.    They left me up in receiving for a               3      get -- you know, to get on a Kosher diet and get
    4      couple -- they wouldn 1 t give me no mat.    They had          4      the transferred approved.
    5      me up there sleeping in the floor with no blankets.            5   Q Okay.      Well, that's all the questions I have for
    6      No nothing.   You know what I 1m saying?    Ms. Boren          6     .you.   We talked about this earlier.    Like,
    7      mentions me sleeping on the floor in receiving in              7      normally, if you were represented by counsel, your
    8      her documentation.                                             8      attorney would have the chance to ask you questions
    9   Q And when did you go to receiving?                               9      to help you like clarify any of the answers that
   10   A I have to look, but it was days later.       'Ihat was         10      you gave. So since you're not represented, I 1m
   11      one of the -- that was one of the issues that the             11      just going to give you the chance to clarify
   12      judge didn't feel had any merit, I guess.         I guess     12      anything you said earlier that you think maybe you
   13      it 1 s acceptable to sleep on the floor with no               13      weren • t vecy clear about or you want to add mre
   14     bedding and no blankets.     It's an empty room.       It      14      information about.     So here is your chance.
   15     had absolutely no toilet, no rurming water.         All it     15   A I don't know how -- I don 1 t know how I can make
   16      had in it was a light, and I had no control of                16      myself any more clear, ma'am.     I was in a
   17     tbat.                                                          17      restricted status house unit.     They wanted to I
   18   Q How long were you in receiving?                                18      guess make -- make an example out of me. It
   19   A I believe three days, maybe two. And then like I               19      failed. Then they came to my cell, and I threw the
   20     said, the treatment continued. I attempted a                   20      -- they wasn't -- you know, I threw -- basically
   21     hilllger strike. And that's in the documentation               21      fended them off the best I could, you know, keeping
   22     too. Janice West, you know, was checking on me,                22      then off me.     When they got me down, I feel like
   23     you lmow, doing my vitals and stuff, you know, but             23      their ego was in jeopardy because they didn't
   24     then the nurses doing my vitals, I was trying to               24      succeed in -- after they took my property, then
   25     get, you know, the treatment that I got, and I                 25      they sprayed me and then they assaulted me.        And
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    1      hoped that hlillger strike would get some attention            1      none of this was getting them nowhere.       So I don 1 t
    2      for me, but it just -- it just led to more neglect             2      -- I don't know.
    3      and deprivation and cruel and illlusual punishment.            3   Q Actually, you know, I did-- I'm sorry.          I did
    4      The more -- the more I tried to better myself and              4      think of one rore question.     You said you received
    5      the more help I sought, the worse I was treated.               5      a conduct report after the incident with Officer
    6   Q When did you see Nurse West?     Was it like the next           6      McGowan?
    7      day or a couple days later?                                    7   A I received -- I received a conduct report with
    8   A It was days later. Like I said, they have to do --              8     McGowan and I received one with -- who was it?
    9     like, when you're on hlillger strike and stuff like             9   Q Oh, probably Krause.
   10      that, they have to do routine checkups.      So               10   A Yes.    Yeah, Krause for his finger.
   11      whenever she was doing my routine checkups, you               11   Q Were you found guilty ultilnately on the McGowan
   12     know, she'd come and see me.                                   12      charge?
   13   Q Were you transferred to Indiana State Prison after             13   A You don't beat conduct reports in the roc.        They
   14     being at Westville?                                            14      think that a conduct report here, you 1 re
   15   A I went from Westville to Miami and then here,                  15      automatically assumed guilty.
   16     Like, when I got to Miami, I got on a Kosher diet,             16   Q So you did not like appeal it or anything?
   17     and they don 1 t have no Kosher kitchen so they                17   A I can't -- I don't recall.      Like I say, I typically
   18     transferred me here because ISP has a Kosher                   18      try to go through the paper process.     Me saying
   19     kitchen because Kosher diets --                                19      that you don't beat conduct reports in the DOC,
   20   Q How long -- go ahead.    Sony.                                 20      that ain't true.     I -- you can beat them, but under
   21   A And then I was going to bring this -- clarify that             21      this circumstance, like I say, they had it out for
   22      the Kosher meals can't just be prepared and served            22      me from the begirming.     So- there was no way that I
   23      the same way that the regular meals are.      'l'hat 1 s      23      was going to beat anything.     It wouldn't have
   24     why they transferred me here.                                  24      mattered if I -- they could have that video
   25   Q How long were you at Miami?                                    25      documentation that they made disappear.        If they --



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    1   you know, I requested that in my hearing -- for my           1                    UNITED STATES DISTRICT COURT
                                                                                          NORTHERN DISTRICT OF INDIANA
    2   screening hearing, the documentation. 'I'hey had it          2                         LAFAYETTE DIVISION
                                                                     3
    3   then, and I got Jolm Sawyer 1 s request where I asked             JAMES LARKIN,                    )
    4   him. That next day after I read that request, he             4                                     )
                                                                                          Plaintiff,       )
    5   came to my door and infonned me that Westville 1 s                                                 )
    6   legal liaison would not allow me to review the                                                     )           Case No.
                                                                     6                                     )     4: 18-CV-00065-JVB-JEM
    7   video footage, that it was a safety to security                   SGT. BRADFORD, et al.,           )
                                                                     7                                     )
    8   threat, that I would have to appoint -- find
                                                                                          Defendants.      )
    9   counsel or get counsel appointed to me to receive            8
                                                                     9
   10   that video footage.                                                                     Job No. 155176
   11        MS. ABSHIRE: Can we go off the record for a            10
                                                                    11             The deposition of JAMES LARKIN, taken in the
   12   second?                                                           above-captioned matter, on August 13, 2020, and at the
   13         (A discussion was held off the record.)               12    time and place set out on the title page hereof.
                                                                                   It was requested that the deposition be
   14        MS. ABSHIRE: Okay. So I don't have any more            13    transcribed by the reporter and that same be reduced to
                                                                          typewritten form.
   15   questions then. So what's going to happen now is                           It was agreed that the reading and signature
   16   that the court reporter is going to make a                        by the deponent to the deposition were waived on behalf
                                                                    15    of the parties Plaintiff and Defendants by their
   17   transcript of everything that we've said today on                 respective counsel, the witness being present and
   18   record. She 1 s going to send me a copy of it. You          16    consenting thereto, the deposition to be read with the
                                                                          same force and effect as if signed by said deponent.
   19   will have the right to purchase your own copy if            17
                                                                    18
   20   you'd like. You have the right to read, review,             19
   21   and sign the transcript. You aren 1 t going to be           20
                                                                    21
   22   able to keep that copy but you can at least review          22
   23   it. It 1 s your right to review it limited to things        23                STEWART RICHARDSON & ASSOCIATES
                                                                                      Registered Professional Reporters
   24   like -- like if there's a typo or someane's name is                              915 Main Street, suite 405
                                                                                            Evansville, IN 47708
   25   spelled wrong and you lmow how to spell the name,                                       (812) 477-4449
                                                                    25

                                                          Page 46                                                                Page48
    1   like you can make that note. You'll have 30 days             1    STATE OF INDIANA             )
                                                                                                       )
    2   from receiving the transcript to review it and sign
    3   it and send it back. You can always waive your               2_   COUNTY OF VANDERBURGH        )

        right to review it if you don't want to, you know,           3
    4
                                                                     4              I, Elizabeth A. Taylor, RPR, a Notary Public
    5   review it for typos or anything. Would you like to
                                                                     5    in and for said county and state, do hereby certify
    6   review the transcript or would you like to waive
                                                                     6    that the deponent herein, JAMES LARKIN, was by me
    7   the right?
                                                                     7    first duly sworn to tell the truth, the whole truth,
    8        THE WITNESS: I believe that I made my case
                                                                     8    and nothing but the truth in the aforementioned
    9   clear. I don't-- I don't feel there's any need to
                                                                     9    matter;
   10   review the transcript.
                                                                    10              That the foregoing deposition was taken on
   11        MS. ABSHIRE: Okay. So you 1 re going to waive
                                                                    11    behalf of the Defendants; that said deposition was
   12   the right?
                                                                    12    taken at the time and place heretofore mentioned
   13        THE WITNESS: That's right.
                                                                    13    between 10:41 a.m. and 11:54 a.m.;
   14         (The deposition concluded at 11:54 a.m.)              14              That said deposition was taken down in
   15                                                               15    stenograph notes and afterwards reduced to typewriting
   16                                                               16    under my direction; and that the typewritten
   17                                                               17    transcript is a true record of the testimony given by
   18                                                               18    said deponent;
   19                                                               19              And that the reading and signature by the
   20                                                               20    deponent to the deposition were waived on behalf of
   21                                                               21    the parties Plaintiff and Defendants by their
   22                                                               22    respective counsel, the witness being present and
   23                                                               23    consenting thereto, the deposition to be read with the
   24                                                               24    same force and effect as if signed by said deponent.
   25                                                               25              I do further certify that I am a disinterested




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                                                              Page 49
    1   person in this cause of action; that I am not a
    2   relative of the attorneys for any of the parties.
    3              IN WITNESS WHEREOF,      I have hereunto set my
    4   hand and affixed my notarial seal this 24th day of
    5   August,   2020.
    6

    7
                      ~~ft.'!~
                           (    ElinberhA. Tayl<>r
    8
                               NOTARYFUE!UCSEAL
    9                           5TATE:OFINDIANA

   10

   11
   12

   13   Job No.   155176

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